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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JACKI EASLICK, LLC, et.al.,

                 Plaintiffs,                              Civil Action No. 23-CV-2000

v.                                                          (Judge William Stickman)


CJ EMERALD, et.al.,


                Defendants.



                               Praecipe to Settle and Discontinue

      To the Clerk:


      Kindly mark the case “settled and discontinued” as to the Defendant MZEKGXM.



                                            Respectfully submitted,

      Dated: March 22, 2024

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